Case 4:12-cr-10020-JEM Document 106 Entered on FLSD Docket 12/04/2013 Page 1 of 6
USDCFLSD 2458(Rev.09/08)-JudgmentinaCriminalCase                                                                       P>ge1pf6


                       U M TED STA TE S D IST R IC T C O U R T
                                             Southern DistrictofFlorida
                                                      KeyW estDivision
UNITED STATES OF AM ERICA                                             JUDGM ENT IN A CRIM INAL CASE
                                                                      CaseN um ber:12-10020-CR-M ARTlN EZ
                                                                      USM Num ber:15051-023
         AM M ON COVINO                                               CounselForDefendant:BruceLyons
                                                                      CounselForTheUnited States:
                                                                      Thom asW atts-Fitzgerald
                                                                      CourtReporter:Daw n W hitm arsh



  Thedefendantpleaded guiltytocountts)1ofthelndictment.
  Thedefendantisadjudicatedguiltyoftheseoffenses:
l
jTITLE& SECTION
'                            NATUREOFOFFENSE                                                       OFFENS
                                                                                                   ENDED E           COUNT
)18U.S.C.j'37l                   conspiracytoille#all
                                                    jgyrchaseandsellfislfwildlife                  11/07/2012        1        .j

  The defendantis senteneed as provided in the following pages ofthisjudgment.The sentence is imposed pursuantto the
  Sentencing Reform Actof1984.
  Countts)2.3.4 aredismissedonthemotionoftheUnited States.
   ltis ordered thatthe defendant mustnotify the United States attorney for this districtw ithin 30 days of any change of nam e,
   residence,ormailingaddressuntilallGnes,restitution,costs,andspecialassessmentsimposed bythisjudgmentare fullypaid.lf
   ordered to pay restitution,the defendantmustnotify the courtand United States attorney of materialchanges in econom ic
   circum stances.


                                                                                    Date oflmposition ofSentence: 12/2/2013




                                                                                    Jose . artinez
                                                                                    Uni d tatesDistrictJu ge

                                                                                               1
                                                                                               .
                                                                                     Ilate.   '
Case 4:12-cr-10020-JEM Document 106 Entered on FLSD Docket 12/04/2013 Page 2 of 6
USDCFLSD2458(Rev,09/0!.
                      1.
                       -.
                        11:
                          5jyr
                             pltntinaCriminalCmqe                                                              Page2of6

DEFENDANT:AM M ON COVINO
CA SE NUM BER:12-10020-CR-M A RTINEZ
                                                    IM PRISON M ENT
 Thedefendantishereby comm ittedto thecustody ofthe United StatesBureau ofPrisonsto be imprisoned fora totalterm of
 12 m onthsand l day asto CountOne oftheIndictment.
  The court makes the follow ing recom m endationsto the Bureau of Prisons:The defendantshallbe assigned to a t-
                                                                                                               acility as
  closeto AustinrTexasaspossible commensuratewith hisbackground and theoffenseofwhich hestandsconvicted.

  Thedefendantisrem anded to the custody oftheUnited StatesM arshal.

                                                        RETURN
  lhaveexecutedthisjudgmentasfollows:




  Defendantdelivered on                                               to

  at                                                ,withacertitiedcopyofthisjudgment.



                                                                                 UN ITED STATES M ARSHAL


                                                                                 DEPUTY UN ITED STATES M ARSHAL
Case 4:12-cr-10020-JEM Document 106 Entered on FLSD Docket 12/04/2013 Page 3 of 6

USDCFLSD 2458(Re.y9
                  -9.11.-
                        ..%jyz
                             ljy-l
                                 zlil.
                                     y-chmi
                                          nAlCase                                                                               Page3of6
DEFENDAN T:AM M ON COV INO
CA SE NUM BER:l2-10020-CR-M ARTINEZ
                                                    SU PERVISED RELEASE
Uponrelease from imprisonment,thedefendantshallbeon supervised release foraterm of2 yearsasto CountOne.
The defendantmustreportto the probation oftice in the districtto which the defendantisreleased within 72 hoursofrelease from
the custody oftheBureau ofPrisons.
The defendantshallnotcommitanotherfederal,stateorlocalcrime.
Thedefendantshallnotunlawfullypossessacontrolledsubstance.Thedefendantshallrefrainfrom anyunlawfuluseofacontrolled
substance.Thedefendantshallsubmittoonedrugtestwithin 15daysofreleasefrom imprisonmentandatleasttwoperiodicdrug
teststhereafter,asdeterm ined by thecourt.
Thedefendantshallcooperate in the collection ofDNA asdirected by the probation officer.
Thedefendantshallnotpossessa firearm ,am m unition,destructivedevice,orany otherdangerousweapon.
Ifthisjudgmentimposesafineorrestitution,itisacondition ofsupervised releasethatthedefendantpay inaccordaneewiththe
ScheduleofPaymentssheetofthisjudgment.
The defendantm ust comply with the standard conditionsthathave been adopted by this eourtaswellasw ith any additional
 conditionsontheattached page.
                                    STANDAR D CON DITION S OF SUPERW SIO N
          Thedefendantshallnotleavethejudicialdistrictwithoutthepermissionofthecourtorprobationofficer'
                                                                                                      ,
          Thedefendantshallreporttotheprobationofficerandshallsubmitatruthfuland completewrittenreportwithinthefirstfifteen daysof
          eac
          Thehdmon
               tfent
                   h'
                   da,ntshallanswertruthfully a11i
                                                 nquiriesbytheprobation officerandfollow theinstructionsoftheprobationofficer;
          Thedefendantshallsupporthîsorherdependentsandmeetotherfamilyresponsibilities)
          Thedefendantshallworkregularlyatalawfuloccupation,unlessexcusedby theprobation officerforschooling,training,orother
         a
         Thcceed
               pe
                ta
                 fb
                  el
                   neda
                      renatss
                            on
                             hasl
                                ;
                                lnotifytheprobation ofticeratIeastten dayspriorto anychangein residenceoremployment;
         Thedefendantshallrefrainfrom excessiveuseofalcoholandshallnotpurchase,possess,use,distri          bute,oradministeranycontrolled
          substanceoranyparapbernaliarelatedtoany controlledsubstances,exceptasprescribedbyaphysician'         ,
         Thedefendantshallnotfrequentplaceswherecontrolledsubstanctsareillegallysold,used,distributed,oradministered'          ,
          Thedefendantshallnotassociate with any personsengagedin crimi       nalactivityandsllallnotassociatewith any person convictedofa
          felony,unlessgrantedpermission todosobytheprobation oft        k er'
                                                                             ,
      10. Thedefendantshallpermitaprobationofficertovisithim orheratanytimeathomeorelsewhereandshallpermitconfiscationofany
          contraband observed i   n plainview oftheprobationofficer;
      11. Thedefendam shallnotify theprobationofficerwithinseventy-twohoursofbeingarrestedorquestionedbya1aw enforcemtntoffiçer'           ,
      12.Thedefendantshallnotenterinto anyagreementtoactasan informeroraspecialagentofa1aw enforcementagencywithoutthe
      l3.pe
         Asrmises
            dir cio
                  tendobfythte
                             hecouo
                                prrb
                                   tat
                                     ai
                                      nd
                                      onofficer,thedefendantshallnotîfy thirdpartiesofrisksthatmaybeocçasionedbythedefendant'scriminal
         record orpcrsonalhistory orcharacteristicsandshallpermittheprobation oft-   ictrtomakesuch notiticationsandto confirm the
         defendant'scompliancewithsuchnotiticationrequirement.
Case 4:12-cr-10020-JEM Document 106 Entered on FLSD Docket 12/04/2013 Page 4 of 6
USDC FLSD 2458(Rev.09/08)-JudgmentinaCrïminalCase                                                         Page4of6

DEFENDAN T;AM M ON COVINO
CA SE NUM BER:12-10020-CR-M ARTlNEZ
                                    SPECIAL CO NDITION S OF SIJPERVISION
 FinancialDisclosureRequirement-Thedefendantshallprovidecom plete accessto financialinformation,including
 disclosure ofalIbusinessand personalfinances,tothe U.S.Probation O fficer.

  Thedefendantshallnotengagein any activity thatinvolvesexhibiting.importing!exporting,transporting,selling,
  receiving,aequiring or purchasing in interstate orforeign com m erce any fish orwildlife.
Case 4:12-cr-10020-JEM Document 106 Entered on FLSD Docket 12/04/2013 Page 5 of 6
              %ûu09/08)-Jt
                         ldb
                           qpentilà-tqj-
                                       l
                                       y-i
                                         -
                                         nalCase                                                               Page5of6
USDCFLSD 2458(.
DEFENDAN T:AM M ON COV INO
CASE NUM BER:12-10020-CR-M ARTINEZ
                                       CRIM INAL M ON ETM W PENA LTIES
 Thedefendantm ustpay the totalcriminalmonetary penaltiesundertheseheduleofpaym entson Sheet6.
                                        Assessm ent                  Fine                      Restitution
         TOTALS                           $100.00                    $0.00                        $0.00


                                                      l                                               'PRIORITY O R
NAM E OF PAYEE
 -   -
                                                      'TOTALLOSS* RESTITUTIONORDERED 1PERCENTAGE
  # Findings for the total amount of losses are required under Chapters 109A, 110, 1IOA ,and l13A of Title 18 for offenses
  comm itted on orafterSeptem ber 13,1994,butbeforeApril23,1996.
  #*Assessm entdueimm ediately unlessotherwise ordered bytheCourt.
Case 4:12-cr-10020-JEM Document 106 Entered on FLSD Docket 12/04/2013 Page 6 of 6
                          t
                          jpypenti
                                 naCri
                                     minalCase                                                                Page6of6
USDC FLSD2458(Rev.09/08)-J-
DEFENDAN T:AM M O N CO VINO
CASE NUM BER:12-10020-CR-M ARTINEZ
                                            SCHEDULE O F PAYM ENTS
 Having assessed the defendant'sability to pay,paymentofthetotalcriminalmonetary penaltiesisdue asfollows:

 A .Lum p sum paym entof$100.00 due im m ediately.
  Unlessthecourthasexpresslyorderedotherwise,ifthisjudgmentimposesimprisonment,paymentofcriminalmonetary penalties
  isdue during imprisonment.A IIcriminalmonetary penalties,exccptthose paym ents madethrough the FederalBureau ofPrisons'
  lnmate FinancialResponsibility Program ,aremade to theclerk ofthe court.
  Thedefendantshallreceivecreditforallpaym entspreviouslymadetowardanycrim inalm onetarypenaltiesimposed.
  Thisassessm ent/t
                  sne/restitution ispayable to theCLERK ,UNITED STATES COURTS and isto beaddressed to:

  U .S.CLERK 'S OFFICE
  A TTN:FINANCIAL SECTIO N
  400 NORTH M IAM IAVEN UE.ROO M 0#N09
  M IAM I,FLORIDA 33128-7716

  Jointand Several
  DefendantandCo-DefendantNamesandCaseNumbers(includingdefendantnumber),TotalAmounk JointandSeveralAmount,
  and corresponding payee,ifappropriate.
 CASE NUM BER                                                                             JOINT AND SEVER AL
 DEFENDA NT A ND CO-DEFENDA NT NA M ES                             TOTAL AM O UNT         A M OUNT
 (INCLUDING DEFENDANT NUM BER)

   Paymentsshallbeappliedinthefollowingorder:(1)assessment,(2)restitutionprincipal,(3)restitution interest,(4)fine
   principal,(5)fineinterest,(6)communityrestitution,(7)penalties,and(8)costs,includingeostofprosecutionandcourtcosts.
